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                5   Attorneys for Activision Publishing, Inc.

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                8                                  UNITED STA TES DI STRICT COURT                  DMR
                9                                NORTHERN DISTRICT OF CALIFORNIA

               10

               11   In re DMCA Subpoena to Reddit, Inc.
                                                        CV 20 80044 MISC.
                                                                        MISC. CASE NO.

               12                                                       REQUEST FOR SUBPOENA TO
                                                                        REDDIT, INC. PURSUANT TO 17 U.S.C.
               13                                                       § 512(H)

               14

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               16

               17             Petitioner, Activision Publishing, Inc. (hereinafter "Activision") through its
               18   undersigned counsel of record, hereby requests that the Clerk of this Court issue a subpoena
               19   to Reddit, Inc. to identify alleged infringers at issue, pursuant to the Digital Millennium
               20   Copyright Act ("DMCA"), 17 U.S.C. § 512(h) (hereinafter the "DMCA Subpoena"). The
               21   proposed DMCA Subpoena is attached hereto as Exhibit A.
               22             The DMCA Subpoena is directed to Reddit, Inc. ("Reddit"). Reddit is the service
               23   provider to which the subject of the subpoena- Reddit user "Assyrian241 O" - posted

               24   infringing Activision content (the "Content"). The Content was posted to the following
               25   RedditURL:
               26                    https://www.reddit.com/r/modemwarfare/ comments/f2ifa 7/i_found_this_ima
               27                    ge_ online_ not_sure_what_it_is/?utm_ source=share&utm_ medium=ios_ app&
                                     utm name=iossmf
   Mitchell    28
Silberberg &                                                                                   CASE NO.
 Knupp LLP
                                                      REQUEST FOR DMCA SUBPOENA
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                              The Content infringes Activision's exclusive rights under copyright law.
                2 Specifically, it infringes Activision' s rights in its popular video game "Call of Duty:
                3   Modern Warfare." See Declaration of Marc E. Mayer dated February 14, 2020 (hereinafter

                4   "Mayer Deel." ).

                5             Activision has satisfied the requirements for issuance of a subpoena pursuant to

                6 U.S.C. § 512(h), namely:

                7

                8        1. Activision has submitted a copy of the notification sent pursuant to 17 U.S.C. §

                9             512(c)(3)(A) as Exhibit 1 to the Declaration of Marc E. Mayer;

               10        2. Activision has submitted the proposed DMCA Subpoena attached hereto as Exhibit

               11             A; and

               12        3. Activision, through its counsel of record, has submitted a sworn declaration

               13             confaming that the purpose for which the DMCA subpoena is sought is to obtain the

               14             identity of an alleged infringer, and that such information will only be used for the

               15             purpose of protecting Activision' s rights under Title 17 U.S.C. §§ 100, et. seq.

               16
               17             Activision respectfully requests that the Clerk expeditiously issue and sign the

               18 proposed DMCA Subpoena pursuant to 17 U.S.C. § 512(h)(4 ).
               19

               20 DATED: February 14, 2020                       MARC E. MAYER
                                                                 MITCHELL SILBERBERG & KNUPP LLP
               21
               22
                                                                 By: Isl Marc E. Mayer
               23                                                    Marc E. Mayer
                                                                     Attorneys for Activision Publishing, Inc.
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